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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO


 JANE ROE, et al                                           Case No. 1:22-cv-376

 Plaintiffs,                                               Judge: Jeffrey P. Hopkins

 v.
                                                            RESPONSE TO NOTICE OF
 UNIVERSITY OF CINCINNATI,                                  SUPPLEMENTAL AUTHORITY

 Defendant                                                  ORAL ARGUMENT REQUESTED




         Plaintiffs respectfully submit this Response to Defendant’s Notice of Supplemental Authority.

(Doc#23.)

         Defendant brings to the Court’s attention a recent Sixth Circuit decision, Garrett v. Ohio State

Univ., 6th Cir. No. 21-3972/3974/3982/4070/4128, 2023 U.S. App. LEXIS 3606 (Feb. 15, 2023).

This decision should not impact the Court’s consideration of Plaintiffs’ retaliation claim. Title IX's

enforcement scheme would be rendered meaningless if schools were able to effectively bar all

complaints of sexual harassment by retaliating against all those who dare complain and this Court

decline to read the Sixth Circuit’s dicta in Garrett to create such a result.

         In Garrett the Sixth Circuit observed that that Court has not previously “recognized a claim

for deliberate indifference to retaliation,” 2023 U.S. App. LEXIS 3606, at *14. But this is not a

“holding” of the Sixth Circuit, because – contrary to Defendant’s assertion – the Sixth Circuit has

never has never actually confronted a claim that an institution was liable because it was deliberately

indifferent to unlawful retaliation. In Garrett, the Sixth Circuit noted that the plaintiffs had not

adequately pleaded such a claim because they failed to allege that anybody at the school “with power

to stop the alleged retaliatory actions, had any knowledge of them.” 2023 U.S. App. LEXIS 3606, at


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*14. The only case cited by Garrett on this issue, Bose v. Bea, specifically declined to rule on this legal

issue because the claim had not been raised in the District Court. 947 F.3d 983, 993 (6th Cir. 2020)

(“We do not speculate whether the outcome would have been different had [plaintiff] pursued” a

deliberate indifference theory).1

        In this case, Plaintiffs allege that they “were subjected to and threatened with retaliation by

CCM faculty” and that the faculty members “had the authority to institute corrective measures on

behalf of the UC.” (Am. Complaint, R.15, PageID#123, 126-127.).

        The Supreme Court has held that a school may be liable for retaliating “against a person

because he complains of sex discrimination.” Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 174

(2005) (emphasis omitted). The Jackson court noted that retaliation is intentional discrimination

encompassed by Title IX's private right of action. And in Gebser v. Lago Vista Indep. School Dist., 524

U.S. 274 (1998), the Supreme Court held that Title IX liability attaches when a school official “who at

a minimum has authority to address the alleged discrimination and to institute corrective measures on

the recipient's behalf has actual knowledge of discrimination” fails to correct such behavior in a

manner that amounts to deliberate indifference. 524 U.S. at 290. Ergo, because “discrimination” under

Jackson includes retaliation, such claims should be evaluated under the deliberate indifference standard.

        UC’s broad reading of Garrett is incorrect because it would make it impossible for a student to

bring any retaliation claim under Title IX, contrary to Jackson. “Reporting incidents of discrimination

is integral to Title IX enforcement and would be discouraged if retaliation against those who report

went unpunished. Indeed, if retaliation were not prohibited, Title IX's enforcement scheme would



1 Plaintiffs in other Sixth Circuit cases also failed to plead all of the elements of a deliberate indifference to
retaliation claim, so the Court never reached the issue in these cases, either. See M.D. v. Bowling Green Indep.
School Dist., 709 F.App'x 775, 779 (6th Cir.2017) (retaliation claim was not “properly before the district court”);
Dahmer v. W. Kentucky Univ., 6th Cir. No. 21-5318, 2022 U.S. App. LEXIS 28533, at *14 (Oct. 13, 2022) (plaintiff
failed to allege that alleged retaliatory conduct was “severe enough that it would dissuade a reasonable person
from engaging in protected activity”).

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unravel.” Jackson, 544 U.S. at 181. Consider a situation where a professor retaliates against a student

after the student brought a sexual harassment claim against the professor. The professor cannot be

held liable because there is no individual liability under Title IX and the school cannot be directly liable

under an agency or respondeat superior theory. Fair enough. But under UC’s reading of the Garrett, the

school also cannot be liable if officials who have the authority to address the alleged retaliation and

to institute corrective measures respond with deliberate indifference. This is inconsistent with Jackson

and Gebser, and also contrary to the approach taken by other Circuits. Papelino v. Albany College of

Pharmacy of Union University, 633 F.3d 81 (2d Cir. 2011) (liability premised on theory that college was

on notice of, and was deliberately indifferent to, a professor's retaliation); Feminist Majority Found. v.

Hurley, 911 F.3d 674, 696 (4th Cir. 2018) (“an educational institution can be liable under Title IX for

its deliberate indifference to” retaliation); Doe v. Sch. Dist. No. 1, 970 F.3d 1300, 1314 (10th Cir.2020)

(defendants could be found liable under Title IX for deliberate indifference to retaliatory conduct).

                                    REQUEST FOR ORAL ARGUMENT

        Plaintiffs respectfully suggest that the Court would benefit from hearing oral argument in this

matter. This case raises an issue of significant concern: deliberate indifference by educational

institutions to actionable sexual harassment that occurs after the school’s knowledge of the

misconduct. Oral argument will assist the Court in its analysis of the disputed issues and will enable

counsel to address any questions the Court may have.




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                                                      Respectfully submitted,

                                                             /s/ Joshua A. Engel
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                                  CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been electronically served via the Courts ECF
system this February 21, 2023 upon all counsel of record.

/s/ Joshua Engel
Joshua Engel




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